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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                            CASE NO.: 1:05cr39-SPM/AK

KEARA NIKYELA JOHNSON,

           Defendant.
______________________________/

      ORDER CONTINUING SENTENCING HEARING FOR JOHNSON ONLY

        This cause comes before the Court on the Motion to Continue (doc. 410)

filed by Defendant Keara Nikyela Johnson. For good cause shown, it is

        ORDERED AND ADJUDGED:

        1.    The Motion to Continue (doc. 410) is granted.

        2.    The sentencing hearing for Defendant Keara Nikyela Johnson is

continued to Thursday, March, 13, 2008, at 9:30 a.m. at the United States

Courthouse in Gainesville, Florida.

        3.    The sentencing hearings for Defendants Jenise Angella Magaroo

and Ashlie Ebony Mothersill remain as scheduled for 2:00 p.m. on Tuesday,

February 12, 2008, at the United States Courthouse in Gainesville, Florida.

        DONE AND ORDERED this 12th day of February, 2008.


                                      s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
